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                                    UNITED STATES DISTRICT COURT
20                                NORTHERN DISTRICT OF CALIFORNIA
21 ANIBAL RODRIGUEZ, SAL CATALDO,                               Case No.: 3:20-cv-04688-RS
22 JULIAN SANTIAGO, and SUSAN LYNN
   HARVEY individually and on behalf of all                     PLAINTIFFS’ MOTION TO SHORTEN
23 other similarly situated,                                    TIME

24                              Plaintiffs,                     (CIVIL LOCAL RULE 6-3)
          v.
25                                                              Judge: Hon. Richard Seeborg
      GOOGLE LLC,                                               Courtroom 3 – 17th Floor
26                              Defendant.
27

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      _____________________________________________________________________________________________________________________
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1
              Under Civil Local Rule 6-3(a), Plaintiffs respectfully move to shorten the time for the
2
      briefing schedule and hearing on Plaintiffs’ Motion for Relief from the Case Management
3
      Schedule (Dkt. 279, “Motion”), filed on December 21, 2022.
4
              Plaintiffs propose the following expedited schedule for deciding the Motion, where the
5
      deadlines that Plaintiffs seek to change will have passed by the hearing date for the Motion:
6                                                      Current Deadline         Plaintiffs’ Proposed
                         Event
                                                           (Dkt. 246)                  Deadline
7      Google’s Opposition                               January 4, 2023         December 28, 2022
8      Plaintiffs’ Reply                                January 11, 2023           January 2, 2023
       Hearing                                          January 26, 2023           January 5, 2023
9
              Plaintiffs’ five-page Motion seeks only to extend by two months the current deadline for
10
      the parties’ opening expert reports, currently scheduled for January 20, 2023. Unless time is
11
      shortened for briefing this Motion, that deadline will come and go before the Motion is heard and
12
      decided. As explained in the Motion, Google has not yet provided discovery that it agreed to
13
      provide months ago, which Plaintiffs seek for those expert opening reports. Without the requested
14
      extension, Plaintiffs and their experts will be forced to conduct work over the holidays that will
15
      likely need to be substantially redone.
16
              Plaintiffs sought to avoid burdening the Court with this Motion, asking Google for the short
17
      extension in light of the holidays and because of the outstanding discovery issues, but Google
18
      would not agree to any extension. Google has meanwhile informed Plaintiffs that it will not be
19
      able to provide agreed-upon discovery until at least January 2, 2023, as all Google employees are
20
      already out for the holidays. Dkt. 278-5; Mao Decl. Ex. 1. When Plaintiffs asked whether Google
21
      would at least stipulate to shortening the briefing schedule on Plaintiffs’ Motion to allow for a
22
      ruling before the January 20 deadline, Google’s counsel responded that “Google is on vacation”
23
      and refused to “bother them with this request” over the holiday period. Mao Decl. Ex. 1. Google’s
24
      position, in other words: Holidays for me, but not for thee.
25
              This Motion will not affect the case schedule.
26
              There have been prior changes to the case schedule, including both by stipulation and by
27
      court order. See Dkts. 156, 180, 215, 246.
28


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1
      Dated: December 22, 2022                              Respectfully submitted,
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11                                                          Attorneys for Plaintiffs

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      PLAINTIFFS’ MOTION TO SHORTEN TIME                                                       CASE NO. 3:20-CV-04688
